     Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 1 of 49




                   UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF NEW YORK

PAUL NICKLEN and
CRISTINA MITTERMEIER,

                Plaintiffs,

v.                                      Case 1:20-cv-10300-JSR-SN

SINCLAIR BROADCAST GROUP, INC.,            DEMAND FOR JURY TRIAL
WCWN LICENSEE, LLC (d/b/a WCWN LLC;
d/b/a WCWN; d/b/a CW15 Albany), and others
similarly situated as WCWN LICENSEE, LLC,
WCWN, LLC.,
HEARST COMMUNICATIONS INC.,
MASHABLE, INC.,
THEHUFFINGTONPOST.COM INC.,
BUZZFEED, INC.,
VERIZON MEDIA INC.,
OATH, INC.
(d/b/a Yahoo!),
GATEHOUSE MEDIA, LLC,
GANNETT CO., INC.
(d/b/a USA Today),
PHOENIX NEWSPAPERS INC.
(d/b/a The Arizona Republic),
DETROIT FREE PRESS, INC.
(d/b/a Detroit Free Press),
QUARTZ MEDIA, INC.,
IHEARTMEDIA + ENTERTAINMENT, INC.,
IHEARTMEDIA, INC.,
ADVANCE PUBLICATIONS, INC.,
CONDE NAST ENTERTAINMENT, LLC
(d/b/a Teen Vogue),
JCK LEGACY COMPANY
(f/k/a The McClatchy Company)
(d/b/a The Kansas City Star),
MIAMI HERALD MEDIA COMPANY,
COLUMBUS LEDGER-ENQUIRER, INC.,
T&R PRODUCTIONS, LLC
(d/b/a RT Network),
G/O MEDIA, INC.
(d/b/a The Root),
IBT MEDIA INC.
(d/b/a International Business Times),

                                                                      1
         Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 2 of 49




 CBS INTERACTIVE INC.
 (d/b/a CBS News; d/b/a Popculture.com),
 TEGNA, INC.,
 WKYC-TV, LLC,
 WFAA-TV, INC.,
 PACIFIC AND SOUTHERN, LLC
 (d/b/a WXIA),
 THE DAILY CALLER, INC.,
 WORLDWIDE MEDIA SERVICES GROUP
 INC.
 (f/k/a American Media, Inc.)(d/b/a The
 Adventure Sports Network),
 A360 MEDIA LLC,
 TEN: PUBLISHING MEDIA, LLC,
 (d/b/a The Adventure Sports Network),
 HEARST PROPERTIES INC.
 (d/b/a KCCI, WESH, WLKY, WMTW,
 WMUR, WPBF, and WXII),
 HEARST STATIONS INC.
 (d/b/a d/b/a KMBC, and KSBW),
 HEARST TELEVISION INC.
 (d/b/a (d/b/a KCRA and WBAL),
 OHIO/OKLAHOMA HEARST TELEVISION
 INC. (d/b/a KOCO),
 JACKSON HEARST TELEVISION INC.
 (d/b/a WAPT),
 WJCL HEARST TELEVISION LLC
 (d/b/a WJCL),
 WVTM HEARST TELEVISION, Inc.,
 SOME SPIDER, INC.
 (d/b/a ScaryMommy.com),
 UPROXX, LLC.,
 WARNER MEDIA, LLC, and
 PLANK, LLC
 (d/b/a Patch Media),

                           Defendants.


                       AMENDED COMPLAINT – CLASS ACTION

       Plaintiffs respectfully amend their complaint and pursuant to Fed. R. Civ. P. Rule 23, state

as follows:




                                                                                                 2
           Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 3 of 49




                                      I. INTRODUCTION

         1.     This is a case about willful copyright infringement by numerous for-profit media

publishers of a “starving polar bear” video1 (the “Video”) captured by Plaintiff Paul Nicklen, and

one photograph2 (the “Photo”) captured by Plaintiff Cristina Mittermeier of the same subject

matter, in the moments before the starving bear passed away. Plaintiffs risked life and limb to

capture the rare video footage that was viewed by millions worldwide and licensed by numerous

entities throughout the world such as The New York Times, The Washington Post, and

FoxNews.com. Licensees of the Video, of which there were nearly two dozen entities,

purchased valid licenses for as much as $4,000.00. Corporate entities that neither secured a

license nor have a valid defense are being sued either individually or as part of a Defendant class

described below pursuant to FRCP 23.

         2.     Plaintiff Paul Nicklen is an iconic, renowned Canadian photographer, filmmaker

and marine biologist. Nicklen's work is regularly featured in National Geographic Magazine, the

New York Times, and many other publications with a global reach. He has received numerous

international awards for his work including six (6) with World Press Photo, three (3) with

Pictures of the Year International, ten (10) in the BBC Wildlife Photographer of the Year

competition, and in 2012 Mr. Nicklen was the inaugural recipient of the Biogems Visionary

Award from the National Resources Defense Counsel. Nicklen is also a National Geographic

Fellow and the cofounder and Director of conservation group, SeaLegacy. Nicklen has almost 7

million Instagram followers on his public profile, https://www.instagram.com/paulnicklen/.




1
    See the Video at: https://www.instagram.com/p/BcU-6PsAoIp/
2
    See the Photo at https://www.instagram.com/p/BcU_8c8FDA8/
                                                                                                   3
         Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 4 of 49




       3.      In addition to being one of the world’s most acclaimed nature photographers,

Nicklen is a sought-after speaker, a TED Talks legend and author. In the past two decades,

Nicklen has collaborated with scientists, filmmakers, conservationists and explorers to create

awareness and inspire action for global issues such as climate change. Nicklen has a web site

that receives inquiries for licensing, speaking, film and photography projects at

https://paulnicklen.com/ and, for a limited time, he contracted with Caters News Agency for

licensing of the Video. Caters has an ongoing obligation to refer all licensing inquiries for the

Video directly to Nicklen at this time.

       4.      Plaintiff Cristina Mittermeier is an acclaimed Mexican photographer and

filmmaker that often collaborates with Plaintiff Nicklen on capturing rare, wildlife images and

videos throughout the world in some of the harshest, almost inaccessible regions on planet Earth.

Mittermeier’s work is regularly featured in National Geographic Magazine, Time magazine, and

numerous other global publications. She has received numerous international awards for her

work including the Mission Award from the North American Nature Photography Association

(NANPA), the Smithsonian Conservation Photographer of the Year Award, among many others

and has been recognized as one of the World’s Most Influential Outdoor Photographers by

Outdoor Magazine. Mittermeier was named one of National Geographic’s 2018 Adventurers of

the Year. She is a member of the World Photographic Academy, a Sony Artisan of Imagery, and

co-founder and Managing Director of conservation group, SeaLegacy, along with Nicklen.

Mittermeier has 1.4 million followers on her public Instagram account,

https://www.instagram.com/mitty. Mittermeier also licenses her work and invites inquiries at

https://cristinamittermeier.com/contact/.




                                                                                                    4
         Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 5 of 49




       5.      Plaintiffs amend their lawsuit and pursuant to Fed. R. Civ. P. 23, allege a

Defendant class related to the Video only. This procedural amendment for a Defendant class

generally involves a common set of operative facts and the Copyright Act, and which this dispute

can be resolved by the Court in one-stroke for liability, one-stroke for common defenses, if any,

available to Defendants and one-stroke for a damages amount for a finding for each

infringement. As background, the factual allegations common to each infringement of the Video

are:

               a. On December 5, 2017, Plaintiff Nicklen posted his copyrighted Video

                  depicting a starving polar bear in the Canadian Arctic in July 2017 to his

                  public Instagram and Facebook accounts with an explicit written notice in the

                  caption directing prospective licensees of the Video to contact Caters News

                  Agency, Plaintiff Nicklen’s agent for the Video at that time, to obtain a

                  license;

               b. On December 7, 2017, National Geographic, one of Plaintiff Nicklen’s

                  regular video and photograph licensees, published an edited version of the

                  Video, that included text throughout its duration, and published on its website

                  accompanying an article about Plaintiff Nicklen’s experience making the

                  Video, quoting him directly from an interview, and the plight of the world’s

                  polar bears in the face of global warming;3

               c. Between December 8, 2017 and December 13, 2017, hundreds or perhaps

                  thousands of online publishers (all operating through various companies)

                  displayed the Video in posts that purported to comment on the Video’s “viral”


3
 Available at: https://www.nationalgeographic.com/news/2017/12/polar-bear-starving-arctic-
sea-ice-melt-climate-change-spd/ (See also Ex. 6).
                                                                                                    5
         Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 6 of 49




                  nature. In reality, these posts were little more than “cut and paste jobs” that

                  used slightly edited or completely verbatim portions of the original captions

                  accompanying Plaintiff Nicklen’s Video on his Facebook and Instagram

                  accounts and/or the text of the National Geographic article. None of the

                  Defendants’ posts displaying the Video contained text that had any

                  meaningful transformative value. Moreover, while nearly every Defendant

                  incorporated the exact same segments of text from the National Geographic

                  article, few used the National Geographic video. Instead, most Defendants

                  embedded the Video Plaintiff Nicklen posted to his Instagram account just

                  days before, despite the explicit licensing notice in its caption. At least four

                  entities embedded Plaintiff Mittermeier’s Photo to illustrate the article.

               d. No Defendant paid Nicklen a licensing fee for the Video before they chose to

                  publish it.

       6.      Facebook, Inc., through its counsel, stated in open court on December 1, 2020 in a

discovery conference in Sinclair v. Mashable, Inc. that Instagram, wholly owned by Facebook,

has never once given an API publisher user a license to embed a photo or video from another

public user’s Instagram account: “Facebook is free to, under its policies as Judge Wood noted, to

grant such sublicenses [to videos or photos on Instagram], but they did not do that. And they did

not do that for anybody and the anybody would, of course, then include Mashable in this

situation.” See Sinclair v. Mashable, (18-cv-790), Tr. 8:24 to 9:14 (Dec. 1, 2020) attached as

Ex. 1. This “anybody” also includes every Defendant in this case and every publisher that has

ever used the Instagram or Facebook API to embed photos or videos.




                                                                                                     6
         Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 7 of 49




       7.      This complaint arises under the United States Copyright Act of 1976, as amended,

17 U.S.C. §§ 101 et. seq. (the “Copyright Act”).

       8.      Plaintiffs separately allege that each Defendant is liable for direct and willful

copyright infringement of Plaintiff’s respective works in violation of 17 U.S.C. §§ 106 and 501.

                                            II. PARTIES

       9.      Plaintiff Paul Nicklen (“Nicklen” or “Plaintiff Nicklen”) is a resident of and

domiciled in Canada.

       10.     Plaintiff Cristina (“Mittermeier” or “Plaintiff Mittermeier”) is a resident of and

domiciled in Canada.

       11.     Defendant Sinclair Broadcast Group, Inc. (“Sinclair”), is a Maryland corporation

located at 10706 Beaver Dam Road, Hunt Valley, MD 21020, and has a wholly owned entity that

has customers in this district, engages in media business in this district, through its corporate

actions and corporate conduct and has purposefully availed itself of the privileges of conducting

business in this district. See Exhibit 2 for list of Sinclair owned entities that likely infringed on

the Video.

       12.     Defendant WCWN Licensee, LLC (d/b/a WCWN; d/b/a CW15 Albany) is a

Maryland company with its principal place of business in Schenectady, New York. Defendant

WCWN purposefully submitted itself to the jurisdiction of the United States District Court for

the Southern District of New York by broadcasting to cable television subscribers in Dutchess

County, New York through cable TV carriers such as Spectrum Cable. (See Exhibit “3.”).

       13.     Defendant WCWN LLC (“WCWN”) is a Delaware company that may have been

the operating entity for WCWN Channel 13, and may have been replaced by Defendant WCWN

Licensee, LLC as the operating entity for this station and the web site where the Video was



                                                                                                        7
          Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 8 of 49




embedded. Defendant WCWN purposefully submitted itself to the jurisdiction of the United

States District Court for the Southern District of New York by broadcasting to cable television

subscribers in Dutchess County, New York through carriers such as Spectrum Cable.

        14.    Defendant Hearst Communications Inc. (“Hearst”), is a Delaware corporation

with its principal place of business in the district. Hearst owns and operates numerous television

and print media entities.

        15.    Defendant Mashable, Inc. (“Mashable”) is and was at all relevant times an active

foreign business corporation duly existing under the laws of the state of New York, with its

principal place of business at 114 Fifth Avenue, 15th Floor, New York. NY 10011, operating a

commercial website at www.mashable.com. Mashable is wholly owned, is partially controlled

by, and takes direction from Ziff Davis LLC as to licensing of copyrighted materials such as

Plaintiffs.

        16.    Defendant TheHuffingtonPost.com, Inc. is a Delaware corporation (“HuffPost”),

with its principal executive office at 770 Broadway, New York, New York 10003. Its registered

agent is CT Corporation System, 28 Liberty Street, New York, New York 10005-0000.

        17.    Other corporate defendants related to claims against HuffPost (the “HuffPost

Defendants”) include Defendant BuzzFeed, Inc., (a Delaware corporation with its principal place

of business at 111 E. 18th Street 13th Floor New York, New York 10003) which has been named

because it has a pending acquisition for Defendant TheHuffingtonPost.com, Inc. from Defendant

Verizon Media Inc., also named as part of this transaction. Verizon Media is a Delaware

Corporation, with its registered agent at Oath (Americas) Inc., 28 Liberty Street, New York, New

York 10005, with principal place of business at 770 Broadway, New York, New York 10003.




                                                                                                  8
           Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 9 of 49




Oath (Americas) Inc. is a Maryland Corporation located at 28 Liberty Street, New York, New

York 10005, with principal place of business at 770 Broadway, New York, New York 10003.

         18.    Defendant Oath, Inc. (d/b/a Yahoo!) is a Delaware corporation and Yahoo! Inc.

(formerly the entity that operated the Yahoo.com web site) that was absorbed in an acquisition in

2017. Oath, Inc. was acquired by and is now owned by Defendant Verizon Media, Inc., which

has its principal office in New York and can be served as the address noted above. Verizon

Media may be the actual party in interest here that operates the Yahoo! brand and the yahoo.com

web site.4

         19.    Defendant Gatehouse Media LLC (“Gatehouse Media”) is a Delaware company

that operates in New York and can be served at C/O Corporation Service Company, 80 State

Street, Albany, New York 12207-2543. Gatehouse Media acquired Defendant Gannett Co. Inc.

(d/b/a USA Today)(“Gannett Co.”) in 2019 during the alleged infringements period described

below for each defendant. Gannett Co.’s headquarters is at 7950 Jones Branch Drive McLean,

VA 22107-0150. Gannett Co. requires users of its web site(s) to be bound by the laws of New

York.5 USA Today operates and conducts business in the district, including employees working

in New York, thus availing itself to the district. USA Today likely also has customers that reside

in New York.

         20.    Defendant Phoenix Newspapers, Inc. (d/b/a The Arizona Republic) (“The Arizona

Republic”) has a principal place of business at 3800 N Central Ave Suite 460, Phoenix, AZ

85012. Its agent for service is CT Corporation System, 3800 N. Central Ave Suite 460, Phoenix,

AZ 85012. The Arizona Republic likely has customers that reside in New York, availing itself to

the district.


4
    https://www.verizonmedia.com/policies/us/en/verizonmedia/terms/otos/index.html
5
    https://www.gannett.com/terms-of-use/
                                                                                                 9
          Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 10 of 49




         21.    Defendant Detroit Free Press, Inc. (“Detroit Free Press”) has a principal place of

business located at 160 W Fort St, Detroit, MI 48226 and can be served at CSC-Lawyers

Incorporating Service (Company), 601 Abbot Road, East Lansing, MI 48823. It is owned and

controlled by Gannett Co. and/or Gatehouse Media. Detroit Free Press likely has customers that

reside in New York, availing itself to the district.

         22.    Defendant Quartz Media Inc. is a Delaware corporation, has its principal place of

business at Quartz Media, Inc., 675 Avenue of the Americas, Suite 41, New York, NY 10010,

and can be served at Corporation Service Company, 80 State Street, Albany, New York, 12207-

2543. It may have owned by Defendant American Media, Inc. during the infringement period.

         23.    Defendant iHeartMedia + Entertainment, Inc. (“iHeartMedia”) has its principal

place of business at 32 Avenue of the Americas, Floor 2, New York, NY 10013 and can be

served at CT Corporation System, 28 Liberty Street, New York, New York 10005. Defendant

iHeartMedia, Inc. has also been named and its principal place of business is at 20880 Stone Oak

Pkwy., San Antonio, Texas 78258. iHeartMedia’s main website states that the Federal courts

located in New York County, New York are proper for personal jurisdiction for any cause of

action arising out of the use of the website.6 Additionally, iHeartMedia has

subscribers/customers in New York City, availing itself to this district.

         24.    Defendant Advance Publications, Inc. (“Advance”) is a New York Corporation

with its principal place of business at 950 Fingerboard Road, Staten Island, New York 10305,

and can be served at Corporation Service Company, 80 State Street, Albany, New York, 12207-

2543. Advance owns, controls and directs Defendant Conde Nast Entertainment, LLC (d/b/a




6
    https://www.iheartmedia.com/legal/terms
                                                                                                 10
           Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 11 of 49




Teen Vogue) (“Teen Vogue”) which has its principal place of business at 1 World Trade Center,

New York, NY 10007.

       25.      Defendant JCK Legacy Company (f/k/a The McClatchy Company) (d/b/a Kansas

City Star,) (“Kansas City Star”) owns The Kansas City. McClatchy’s corporate headquarters is

at 2100 Q Street, Sacramento, CA 95816-6899. The McClatchy Company filed for Chapter 11 in

the United States Bankruptcy Court for the Southern District of New York, Case No. 20-10418.

The McClatchy Company availed itself of the jurisdiction of the district in February 2020.

Kansas City Star committed alleged willful copyright infringement and cannot discharge this

liability in bankruptcy. Plaintiff intends to seek consent to pursue this claim and have any stay

lifted. Further, the Kansas City Star likely has customers in New York during all relevant time

periods.

       26.      Defendant Miami Herald Media Company (d/b/a Miami Herald) (“Miami

Herald”) has a principal place of business at 3511 NW 91 Ave, Miami, FL 33172, and can be

served at CT Corporation System, 1200 South Pine Island Road, Plantation FL 33324. The

McClatchy Company and Miami Herald both filed for bankruptcy in the Southern District of

New York, availing themselves to the jurisdiction New York in February 2020. Miami Herald

committed alleged willful copyright infringement and cannot discharge this liability in

bankruptcy. Plaintiff intends to seek consent to pursue this claim and have any stay lifted from

case 20‐10450. Miami Herald likely also had customers in New York during all relevant time

periods.

       27.      Defendant Columbus Ledger-Enquirer, Inc. (“Ledger-Enquirer”) has a principal

place of business at 945 Broadway, Suite 102, Columbus. GA 3190, and can be served at CT

Corporation, 180 Cherokee Street NE, Marietta, GA 30060. The McClatchy Company and



                                                                                                    11
         Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 12 of 49




Ledger-Enquirer both filed for bankruptcy in the Southern District of New York, availing

themselves to the jurisdiction New York in February 2020. Ledger-Enquirer committed alleged

willful copyright infringement and cannot discharge this liability in bankruptcy. Plaintiff intends

to seek consent to pursue this claim and have any stay lifted from case 20‐10424. Ledger-

Enquirer likely had customers in New York during all relevant time periods.

         28.   Defendant T&R Productions, LLC (d/b/a RT Network) is a District of Columbia

company, with its principal place of business at 1325 G Street NW Suite 250, Washington, DC

20005 and can be served as the same address. RT Network claims that it is “an autonomous, non-

profit organization that is publicly financed from the budget of the Russian Federation.” Upon

information and belief, RT Network has registered to do business in New York under DOS ID

5057413.

         29.   Defendant G/O Media, Inc. (d/b/a The Root) (“The Root”) is a corporation that

has its principal place of business at G/O Media, 1540 Broadway, 27th Floor, New York, NY

10036.

         30.   Defendant IBT Media, Inc. (d/b/a International Business Times) (“IBT”) has its

principal place of business at 33 Whitehall St FL 7, New York, NY 10004, and can be served at

IBT Media Inc., 7 Hanover Square 5TH FL., New York, New York 10004.

         31.   Defendant CBS Interactive, Inc., d/b/a CBSNews.com (“CBS”) is a Delaware

corporation and has its principal place of business at C/O Ashley Chaffin, 51 W. 52ND St. (19-

13), New York, New York, 10019. It can be served at Corporation Service Company, 80 State

Street, Albany, New York, 12207-2543.

         32.   Defendant CBS Interactive, Inc., d/b/a Popculture.com (“CBS”) is a Delaware

corporation and has its principal place of business at C/O Ashley Chaffin, 51 W. 52ND St. (19-



                                                                                                 12
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 13 of 49




13), New York, New York, 10019. It can be served at Corporation Service Company, 80 State

Street, Albany, New York, 12207-2543.

       33.     Defendant Tegna Inc. is a Delaware Corporation with its principal place of

business at 8350 Broad Street, Suite 2000, Tysons, VA 22102. It owns and operates numerous

entities that distribute content into the district. Tegna also owns and controls WKYC, WFAA,

and, upon information and belief, WXIA. Tegna informs its web site users that “this agreement

will be governed by and construed in accordance with the laws of the State of New York.”

       34.     Defendant WKYC-TV, LLC, a Delaware company, and/or Defendant Tegna Inc.

are companies that own, operate, and/or control the web site https://www.wkyc.com. Tegna

requires anyone that is on the site to be bound by terms governed by and construed in accordance

with the laws of the State of New York, exclusive of its choice of law rules and “each party to

this Agreement hereby submits to the exclusive jurisdiction of the state and federal courts sitting

in the County of New York in the State of New York.” See https://www.wkyc.com/terms.

       35.     Defendant WFAA-TV, INC., a Texas-based company with its address at 606

Young St, Dallas, TX 75202, and/or Defendant Tegna Inc. are companies that own, operate,

and/or control the web site https://www.wfaa.com. Tegna allegedly requires anyone that is on

the site to be bound by terms governed by and construed in accordance with the laws of the State

of New York, exclusive of its choice of law rules, and “each party to this Agreement hereby

submits to the exclusive jurisdiction of the state and federal courts sitting in the County of New

York in the State of New York.” See https://www.wfaa.com/terms.

       36.     Defendant Pacific and Southern, LLC (d/b/a WXIA) (“WXIA”) and/or Defendant

Tegna Inc. are companies that own, operate, and/or control the web site

https://www.11alive.com. Tegna requires anyone that is on the site to be bound by terms



                                                                                                  13
         Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 14 of 49




governed by and construed in accordance with the laws of the State of New York, exclusive of

its choice of law rules, and “each party to this Agreement hereby submits to the exclusive

jurisdiction of the state and federal courts sitting in the County of New York in the State of New

York.”

         37.   Defendant The Daily Caller, Inc., has its principal place of business at 1920 L

Street NW, Suite 200, Washington, DC 20036, and operates the site www.dailycaller.com,

founded by Fox News commentator, Tucker Carlson. It is alleged and on reasonable belief, the

Dailycaller.com has customers (subscribers) that can be found in the district.

         38.   Defendant Worldwide Media Services Group, Inc. (f/k/a American Media, Inc.)

(d/b/a Adventure Sports Network) (see https://www.americanmediainc.com/brands/overview) is

a Delaware corporation with its principal place of business at 4 New York Plaza, New York,

New York 10004. It owns and operates the web site for Adventure Sports Network. Defendant

A360 Media LLC, a Delaware company with its principal place of business at 4 New York

Plaza, New York, New York 10004 and likely also has or had operational control over

Adventure Sports Network, with a website at

https://videos.adventuresportsnetwork.com/pages/discover/d/discover.

         39.   Defendant TEN: Publishing Media, LLC (d/b/a Adventure Sports Network), is a

Delaware company based at 831 S. Douglas Street, El Segundo, CA 90245 that distributes and

did distribute media products and magazine subscriptions to the district, and was the owner of

the Adventure Sports Network when the infringement first occurred in December 2017.

         40.   Defendant Hearst Properties, Inc. (d/b/a KCCI, WESH, WLKY, WMTW,

WMUR, WPBF, and WXII) (“Hearst Properties”), is a Delaware company that owns and

operates websites for these television stations. Each web site for KCCI (https://www.kcci.com/),



                                                                                                 14
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 15 of 49




WESH (www.wesh.com), WLKY (www.wlky.com), WMTW(https://www.wmtw.com/) ,

WMUR (https://www.wmur.com/), WPBF (https://www.wpbf.com/), and WXII

(https://www.wxii12.com/) have terms of service that require all “[c]laims of infringement or

misappropriation of the other party's patent, copyright, trademark, or trade secret shall be

exclusively brought in the state and federal courts located in New York City, New York.”

Therefore, Hearst Properties submits itself to the jurisdiction of this court.

       41.     Defendant Hearst Stations Inc. (d/b/a KMBC, and KSBW)(“Hearst Stations”) is a

Delaware corporation with its principal place of business at 300 West 57th Street, New York,

New York 10019. It operates websites for KMBC (https://www.kmbc.com/) and KSBW

(https://www.ksbw.com/) and have terms of service that require all “[c]laims of infringement or

misappropriation of the other party's patent, copyright, trademark, or trade secret shall be

exclusively brought in the state and federal courts located in New York City, New York.”

Therefore, Hearst Stations submits itself to the jurisdiction of this court.

       42.     Defendant Hearst Television, Inc. (d/b/a KCRA and WBAL) (“Hearst

Television”) is a Delaware corporation with its principal place of business at 300 West 57th

Street, New York, New York 10019. It operates websites for KCRA (https://www.kcra.com/)

and WBAL (https://www.wbaltv.com) and have terms of service that require all “[c]laims of

infringement or misappropriation of the other party's patent, copyright, trademark, or trade secret

shall be exclusively brought in the state and federal courts located in New York City, New

York.” Therefore, Hearst Television submits itself to the jurisdiction of this court.

       43.     Defendant Ohio/Oklahoma Hearst Television Inc. (d/b/a KOCO) is a Delaware

corporation with its principal place of business at 300 West 57th Street, New York, New York

10019. It operates websites KOCO (https://www.kmbc.com/) and has terms of service that



                                                                                                 15
         Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 16 of 49




require all “[c]laims of infringement or misappropriation of the other party's patent, copyright,

trademark, or trade secret shall be exclusively brought in the state and federal courts located in

New York City, New York.” Therefore, Ohio/Oklahoma Hearst Television Inc. submits itself to

the jurisdiction of this court.

        44.     Defendant Jackson Hearst Television Inc. (d/b/a WAPT) (“Jackson Hearst”) is a

Delaware corporation with its principal place of business at 00 West 57th Street, New York,

New York 10019. It operates a website for WAPT (https://www.wapt.com/) and has terms of

service that require all “[c]laims of infringement or misappropriation of the other party's patent,

copyright, trademark, or trade secret shall be exclusively brought in the state and federal courts

located in New York City, New York.” Therefore, Jackson Hearst submits itself to the

jurisdiction of this court.

        45.     Defendant WVTM Hearst Television, Inc. (“WVTM”), is a Delaware corporation

with its principal place of business at 00 West 57th Street, New York, New York 10019. It

operates a website for WVTM (https://www.wvtm13.com/) and has terms of service that require

all “[c]laims of infringement or misappropriation of the other party's patent, copyright,

trademark, or trade secret shall be exclusively brought in the state and federal courts located in

New York City, New York.” Therefore, WVTM submits itself to the jurisdiction of this court.

        46.     WJCL Hearst Television, LLC (d/b/a WJCL) has its principal at 300 West 57th

Street, 39fl, New York, NY 10019, and is a Delaware company that owns and operates the

website https://www.wjcl.com/. The website has terms of service that require all “[c]laims of

infringement or misappropriation of the other party's patent, copyright, trademark, or trade secret

shall be exclusively brought in the state and federal courts located in New York City, New

York.” Therefore, WJCL submits itself to the jurisdiction of this court.



                                                                                                     16
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 17 of 49




       47.     Defendant Some Spider, Inc. (d/b/a ScaryMommy.com) has its principal place of

business at 20 West 22nd Street, Suite 301, New York, NY 10010 and is owned by Some Spider

Inc. It operates the web site https://www.scarymommy.com/. It can be served via Vinit Bharara,

20 West 22ND Street, Suite 601, New York, New York 10010.

       48.     Defendant Uproxx, LLC. (d/b/a Uproxx), has its principal place of business at

10391 Jefferson Blvd., Culver City, CA 90232. Uproxx is owned, controlled and operated by

Defendant Warner Media, LLC and directs all DMCA complaints to the Litigation Department,

1633 Broadway New York, NY 10019. Defendant Warner Media, LLC is a Delaware company

with its registered agent at 28 Liberty Street, New York, New York, 10005. Warner Media,

LLC’s principal place of business is at Warner Media, 30 Hudson Yards, New York, NY 10001.

       49.     Defendant Planck, LLC (d/b/a Patch Media) is a Delaware company with its

principal place of business at 134 W. 29th Street, 11th Floor, New York, NY 10001.

                               III. JURISDICTION AND VENUE

       50.     This Court has exclusive subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 (federal question) and 28 U.S.C. § 1338 (copyrights).

       51.     Venue is proper in the Southern District of New York pursuant to 28 U.S.C. §§

1391 because each of Defendants’ respective principal places of business can be found in this

District, or pursuant to 28 U.S.C. § 1400(a)(venue for copyright cases), Defendants each availed

themselves in this District as alleged herein.

       52.     This Court has in personam jurisdiction over Defendants because Defendants

each availed themselves of the privileges of conducting business in this district and the State of

New York and incurred a benefit from the copyright infringements, thus it is reasonable for each

Defendant to submit to the jurisdiction of this district court. Certain Defendants also represented



                                                                                                     17
           Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 18 of 49




that they choose this district for copyright disputes regardless of where the operating entity

existed.

                    IV. TOLLING OF THE STATUTE OF LIMITATIONS

        53.     Throughout the time period relevant to this action, Defendants affirmatively

suppressed, concealed, and omitted from Plaintiffs their acts and omissions violating Plaintiffs’

rights. Defendants willfully and knowingly kept Plaintiffs ignorant of vital information essential

to Plaintiffs’ rights and violations of Plaintiffs’ rights essential to pursuit of a claim against the

Defendants, and as a result, Plaintiffs could not have discovered the violation of rights, even

upon reasonable exercise of due diligence.

        54.     Defendants were aware their actions were violating Plaintiffs’ rights, but

continued to violate Plaintiffs’ rights, for their own financial gain, while suppressing, concealing

and omitting this information from the Plaintiffs.

                                    V. CLASS ALLEGATIONS

        55.     Plaintiff Nicklen brings this claim against Defendants, and all other Defendants

similarly situated, under Fed. R. Civ. P. 23(a), and for statutory damages. Pursuant to Fed. R.

Civ. P. Rule 23(a) “[o]ne or more members of a class may ... be sued as representative parties on

behalf of all members.” Class Definition and Ascertainability:

                Plaintiff proposes the following class definition:

        “All persons and entities without a valid license who published, embedded, or
        caused to be displayed Plaintiff Nicklen’s “starving polar bear” Video into a
        Defendant’s web site post using the Instagram or Facebook embedding tool (API).”
        (“Defendant Class”).

        56.     The exact number of Defendant class members is unknown, but is reasonably

ascertainable with objective criteria. The actual number is anticipated to be several hundred, or




                                                                                                         18
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 19 of 49




over one thousand and potentially located all over fifty states. Thus, under Fed. R. Civ. P.

23(a)(1), the Defendant class is so numerous that joinder of all members is impracticable.

       57.        Pursuant to Fed. R. Civ. P. 23(a)(2), there are questions of law or fact common to

the Defendant class members. The class members electronically embedded the Video and

published it without a license. Plaintiff Nicklen’s claims arise from infringements pursuant to

the Copyright Act and may be applied against all Defendants in one lawsuit. Plaintiff Nicklen’s

claims arise from a common federal statute legal theory and a common nucleus of operative facts

relevant to each Defendant class member. This liability question may be decided by one Court.

Moreover, Defendants may assert a common defense, such as fair use, which may be decided by

this Court in one lawsuit. Common issues of law or fact for the Defendant class, include, but are

not limited to:

                  a. Whether Defendants embedded the Video causing it to be displayed to the

                     public without a license to do so;

                  b. Whether the Defendants violated the Copyright Act by infringing any of

                     Plaintiff Nicklen’s exclusive rights in his copyrighted Video;

                  c. Whether Defendants knew or acted in reckless disregard of the high

                     probability that its actions infringed any of Plaintiff Nicklen’s exclusive rights

                     in his copyrighted Video;

                  d. Whether actual or statutory damages apply for all violations of the Copyright

                     Act;

                  e. Whether a common defense such as fair use applies to Defendants’ posts;

       58.        Pursuant to Fed. R. Civ. P. 23(a), the defenses, which are anticipated to be raised

and interposed by the representative Defendant (Sinclair Broadcast Group, Inc.) named herein



                                                                                                     19
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 20 of 49




will be typical for the rest of the Defendant class members. There is a common liability question

to be decided regarding Defendants’ wrongful conduct and violation of the Copyright Act, which

is applicable and typical for all Defendant class members.

       59.     Pursuant to Fed. R. Civ. P. 23(a)(4), the representative Defendants in this lawsuit

will fairly and adequately represent and protect the interests of the other members of the

Defendant class. The named Defendants are large media conglomerates with well-known

counsel who are intimately familiar with Federal Copyright law and class action lawsuits. These

law firms, which represent the named Defendants, have extensive experience representing parties

in Federal Copyright Law, complex litigation and class actions, have knowledge and experience

of the liability claims, defenses to be raised and procedural nature of Rule 23, as a procedural

mechanism to decide a common federal liability question in one lawsuit with common defenses.

       60.     A class action may be maintained in this lawsuit because Rule 23(a) is satisfied

and 23(b):

       (1) prosecuting separation actions against individual class member Defendants would
       create a risk of:
       (A) inconsistent or varying adjudications with respect to individual class members that
       would establish incompatible standards of conduct for the party opposing the class; or,
       (B) adjudications with respect to individual class members that, as a practical matter,
       would be dispositive of the interests of the other members not parties to the individual
       adjudications or would substantially impair or impede their ability to protect their
       interests;
       (2) the party opposing the class has acted or refused to act on grounds that apply
       generally to the class, so that final injunctive relief is appropriate respecting the class as a
       whole.

       See Fed. R. Civ. P. 23(b).

       61.     This class may also be maintained for damages, which involve federal statutory

damages with questions of law or fact, which predominate over any questions affecting only

individual members and a class action is superior to other available methods for fairly and



                                                                                                     20
         Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 21 of 49




efficiently adjudicating the controversy. Statutory damages have already occurred and continue,

and the litigation of this issue may be managed and accomplished in one collective action,

including, where necessary, any bifurcation on any damage issue, which should be limited

because federal Copyright law for damages applies and there are not individual varying state

damage law calculations and differences. Therefore, litigation of these issues is superior and

may be managed cohesively in one lawsuit.

         62.    This litigation in New York as an established forum familiar with copyright law

and media interests and manageability of this type of lawsuit in one lawsuit in controlling the

prosecution or defense supports collective action because rulings on federal law would be

applicable to not only named class representative Defendants, but also other Defendants.

         63.    Substantial commonality exists with federal Copyright liability and federal

Copyright defenses.

         64.    Plaintiff is willing to work and cooperate on any notice requirements required by

the Court to notify Defendant entities of this Copyright lawsuit and that rulings herein may affect

their rights.

         65.    Plaintiff believes counsel for the named Class Representative Defendants are

adequate and very knowledgeable on defending this lawsuit in a collective proceeding.

However, the Court may also, in its discretion, nominate interim Defense counsel under Rule

23(g).

         66.    Pursuant to Fed. R. Civ. P. 23(b)(3), the common questions of law and fact

predominate over any questions, which may affect individual members of the Defendant Class.

Maintaining this lawsuit as a collective action before one Court is a superior means of litigating

this lawsuit, rather than hundreds of courts around the country deciding common operative facts



                                                                                                  21
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 22 of 49




against the same Federal Copyright Act violations, and interposed common defenses applicable

to all Defendants, in the proposed Defendant Class. The risk of inconsistent litigation with

possibly thousands of lawsuits over the same operative facts and Federal Copyright law and

interposed common defenses could result in inconsistent adjudication and standards across the

country and would also pose a large burden on the court system throughout the country.

       67.     This lawsuit, as it arises from a common operative nucleus of facts, and Federal

Copyright Law can be effectively managed by this Court, which will conserve judicial resources,

preserve the rights of the parties and other members of the Defendant class, and avoid

inconsistent and varying determinations of liability and defenses on Federal Copyright Law,

which could create incompatible and inconsistent legal decisions and guidance for the parties in

this lawsuit and future lawsuits.

       68.     One Court can decide the primary legal issues and defenses. Any remaining issue

may be decided in bifurcation, if necessary, but the main legal liability is federal statutory law

and federal statutory damages, therefore, one lawsuit is a superior means of adjudicating the

common operative facts and law.

       69.     Plaintiffs respectfully request that the Court exercise its, under its authority

pursuant to Fed. R. Civ. P. 57 and the Federal Declaratory Judgment Act, 29 U.S.C. § 2201,

which provides that any court of the United States, upon the filing of an appropriate pleading,

may declare the rights and other legal relations of any interested party seeking such declaration.

Any such declaration shall have the force and effect of a final judgment or decree. Plaintiffs

respectfully request the Court declare the rights of the parties under Federal Copyright Act and

law, Defendants cease and desist from publishing the Video without a license from Plaintiff




                                                                                                     22
         Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 23 of 49




Nicklen, and for statutory damages available under the Federal Copyright Act, or compensatory

damages, available pursuant to the Federal Copyright Act.

                            VI. GENERAL FACTUAL ALLEGATIONS

        70.        In July of 2017, Plaintiff Nicklen and Plaintiff Mittermeier and a small crew

affiliated with SeaLegacy, the conservationist media production organization founded by the

Plaintiffs, set out for the Canadian Arctic on a photography and filmmaking expedition. Costing

as much as hundreds of thousands of dollars each to conduct, these expeditions are used to

capture audiovisual content for the purpose of creating compelling conservation-oriented

documentary films and still images which Plaintiffs then license for a variety of purposes as one

of their means for making a living. On this expedition, the crew trekked to Somerset Island,

adjacent to the much larger Baffin Island, in the mostly rural Canadian territory of Nunavut

where they were surprised to encounter one of the region’s famed polar bears rummaging

through garbage cans of a local village in a desperate attempt to find food. The Plaintiffs filmed

and photographed the emaciated bear believing it to be an accurate representation of the fate that

awaited the world’s polar bear population given the toll that global warming is taking on their

natural habitat.

        71.        On or about December 5, 2017, Plaintiff Nicklen posted a brief edit of the footage

he had captured of the starving polar bear the past July to his public Instagram account (user

“paulnicklen,” located at: https://www.instagram.com/p/BcU-6PsAoIp/)7 with following caption

after the post’s byline:

                       My entire @Sea_Legacy team was pushing through their tears and emotions
                       while documenting this dying polar bear. It’s a soul-crushing scene that still
                       haunts me, but I know we need to share both the beautiful and the
                       heartbreaking if we are going to break down the walls of apathy. This is what
7
 Nicklen also posted the same Video on this Facebook account with the same text. See
https://www.facebook.com/paulnicklen/videos/10155204590778364/
                                                                                                   23
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 24 of 49




                    starvation looks like. The muscles atrophy. No energy. It’s a slow, painful
                    death. When scientists say polar bears will be extinct in the next 100 years, I
                    think of the global population of 25,000 bears dying in this manner. There is
                    no band aid solution. There was no saving this individual bear. People think
                    that we can put platforms in the ocean or we can feed the odd starving bear.
                    The simple truth is this—if the Earth continues to warm, we will lose bears
                    and entire polar ecosystems. This large male bear was not old, and he
                    certainly died within hours or days of this moment. But there are solutions.
                    We must reduce our carbon footprint, eat the right food, stop cutting down
                    our forests, and begin putting the Earth—our home—first. Please join us at
                    @sea_legacy as we search for and implement solutions for the oceans and
                    the animals that rely on them—including us humans. Thank you your support
                    in keeping my @sea_legacy team in the field. With @CristinaMittermeier
                    #turningthetide with @Sea_Legacy #bethechange #nature #naturelovers


                    This video is exclusively managed by Caters News. To license or use in a
                    commercial player please contact info@catersnews.com or call +44 121
                    616 1100 / +1 646 380 1615” (emphasis added)




       72.     The text that accompanied the Video on Instagram clearly put the world on notice

that the Video was available for licensing. In fact, Plaintiff Nicklen believes he licensed his

Video to almost two dozen entities both in the United States and throughout the world, which is

clear evidence that there was a market value for the Video and those media organizations


                                                                                                  24
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 25 of 49




recognized that licensed the Video that was also posted on Instagram simply could not be embed

the Video into their publication or that the display and/or the use was a “close call” in terms of

“fair use.” Using “fair use” as catch-all defense for publishers that needed a justification is

usually analyzed after the fact, to avoid seeking and paying a licensing fee when they are caught

infringing. While not ideal and not generally consistent with reasonable and acceptable industry

practices for reputable news organizations, Nicklen did license the Video after it was published

on at least one occasion.

       73.     On December 5, 2017, Plaintiff Mittermeier posted her Photo on her public

Instagram account at https://www.instagram.com/p/BcU_8c8FDA8/ as follows:




       74.     Like Nicklen, Mittermeier also licensed her Photo to online entities who all

presumably recognized that the use of the photo for publication required a license and could not

be considered fair use.

                                                                                                     25
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 26 of 49




    A. COMMON ALLEGATIONS OF EVIDENCE OF THE INFRINGEMENTS

       75.     Starting on or about December 8 through on or around December 13, 2017,

Defendants began embedding and/or displaying Plaintiff Nicklen’s Video and, in four instances

as alleged below, Plaintiff Mittermeier’s Photo. The embeds were made using either Instagram

or Facebook as noted, which have substantially similar terms related to copyright and embedding

policies. The wrongful acts and the facts surrounding such conduct are generally common to

each Plaintiff and each Defendant. The subject matter is of the same polar bear, captured the

polar bear footage and still image on the day in 2017 and each Plaintiff posted their copyrighted

work to Instagram on the same day.

       76.     Certain Defendants have already indicated their intent to assert a fair use defense,

which is neither supported by the facts nor the law. The use of the Video by Defendants is not

transformed by or through commentary or criticism sufficient for fair use purposes; at best, some

uses merely notes the “viral” nature of the Video and Photo before discussing the contents of the

video and the circumstances under which the Plaintiffs captured the Video and Photo as

explained by Plaintiffs in the caption to their Instagram posts, in a December 7, 2017 article

about the video published by licensee, National Geographic,8 or in a December 8, 2017 article

about the video published by licensee, CBC, Radio Canada.9 Moreover, in all the posts by

Defendants where the Video was used, each displayed or caused to be displayed the entire one-

minute Video, far more than is reasonably required or necessary to comment or criticize the

subject matter of the Video or Video itself. The use of the entire Video here is analogous to a

writer that critiques a Hollywood blockbuster and embeds the entire movie into the article, then


8
  See: https://www.nationalgeographic.com/news/2017/12/polar-bear-starving-arctic-sea-ice
-melt-climate-change-spd/
9
  https://www.cbc.ca/radio/asithappens/as-it-happens-friday-edition-1.4439608/all-of-our-team-
was-in-tears-video-shows-polar-bear-starving-in-the-north-1.4439616
                                                                                                  26
         Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 27 of 49




tries to assert a “fair use” defense to justify the display of the entire movie. The use of the entire

film is not required or necessary in that critique any more than the use and display of the entire

Video is not required here. Additionally, because Plaintiffs regularly license their videos and

photographs as a part of their means to make a living, and did so with the Video and Photo, the

Defendants’ unauthorized, non-transformative display of the Video and Photo usurped the

market for Plaintiffs’ to license Video and Photo. Finally, because the text accompanying the

four instances of the embedded Photo mentioned only the Video, the Photo’s display by four

Defendants cannot be considered fair by any reasonable measure. Thus, any fair use defense will

fail on its face.

        77.         Plaintiffs join in this same complaint against the various individual Defendants as

the most efficient means to adjudicate the disputes by all parties involved because the liability

alleged generally is caused by the same Video and Photo of the polar bear, with the

infringements all occurring within a few days using substantially similar means to display the

Video and Photos. Further, the transaction, occurrence, or series of transactions or occurrences

(the infringements are all separate) are similar, warranting the court to administer this case under

one consolidated action, with each Defendant being subject to the jurisdiction of this court,

otherwise, inconsistent results could occur.

        78.         Each Defendant caused the Video owned by Nicklen or the Photo owned by

Mittermeier to be displayed on the respective Defendants’ website via the Instagram API embed,

described below, without securing a valid license or permission from each Plaintiff, or a valid

legal defense such as fair use. This is also despite Plaintiff Nicklen making it clear in the

Instagram post that his Video was available for licensing through Caters News Agency.




                                                                                                     27
            Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 28 of 49




        79.      Prior to the embedding and displaying of the Video and Photos by Defendants on

their respective web sites, as is described in more detail below, Plaintiff Nicklen’s Video and

Mittermeier’s Photo were first posted and displayed on their respective public Instagram

accounts on or about December 5, 2017. Each Plaintiff maintains the sole copyright interest in

their works and each Plaintiff timely registered the works with the US Copyright office.

        80.      All Defendants, except where noted, accomplished its unauthorized display of

Nicklen’s Video or Mittermeier’s Photo by inserting the unique computer code attached to Video

or Photo on each of Plaintiff’s respective Instagram accounts, generally referred to as

Instagram’s application programming interface (“API”) code, in the Defendants' respective

websites causing the Video or Photo to simultaneously be displayed within the body of the

Defendants’ web site without the need for a viewer of Defendants’ web site to take additional

action or navigate their web browser away from the web site to the Instagram account of Nicklen

or Mittermeier. In other words, a viewer of the article on the web site likely did not even know

that the Video or Photo displayed in the body of the web site was “embedded” and the actual

Video or Photo file was stored on Instagram’s server.10

        81.      To a viewer of the Post, content embedded from an Instagram account appears no

differently than other content within the Post, be it an advertisement, clickable link, or

Defendant’s original and/or owned or licensed content. A viewer does not need to be an

Instagram user or have an Instagram account (or Facebook account) to view Instagram photos

and videos or Facebook videos embedded within any of Defendants’ posts including all the ones

at issue.




10
  Upon information and belief, Instagram's default format for images is JPEG (.jpg), meaning
that any image that is uploaded in PNG (.png), BITMAP (.bmp) or MP4 of MOV files.
                                                                                                  28
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 29 of 49




       82.     All Instagram account holders, including Plaintiffs, allegedly agree to Instagram’s

Terms of Use in order to initially open an account and maintain that account for use on the

Instagram platform. Pursuant to Instagram’s Terms of Use, Instagram users, such as Plaintiffs,

retain ownership of their copyrighted photos and videos that are posted to their Instagram

accounts. However, each user agrees to grant Instagram a nonexclusive license to the content the

user posts to their Instagram account, including any copyrighted photos or videos, which, in turn,

provides Instagram permission to license, or sublicense, those copyrighted photos should

Instagram elect to do so.11 There is no evidence that Instagram or Facebook granted any

Defendant in this case a license to the Video or Photo. In fact, Instagram, through Facebook’s

lawyers, represented in court that Instagram has never given out a license to a publisher who uses

the Instagram API embed as noted above. Therefore, Instagram's terms make it clear that

publishers still need to obtain a license or permission, as required by law.

       83.     Further, users, such as each Defendant that used Instagram’s API embedding

code, agrees to be bound by an additional set of rules contained within Instagram’s Platform

Policy (“Platform Policy”).12 Notably, the Platform Policy contains no language (that can be

reasonably interpreted or misconstrued) that provides API users such as each Defendant here a

license or sub-license to freely use, display, publish, or embed the photos of users such as

Plaintiffs without first ensuring that each Defendant received “all rights necessary to display the

content of general Instagram users.”13




11
   See Instagram Terms of Use.
12
   See Instagram Platform Policy.
13
   See Instagram Platform Policy at D-9.
                                                                                                  29
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 30 of 49




       84.     Non-party Facebook Inc., who owns and controls its subsidiary, Instagram, LLC,

publicly confirmed that Instagram’s Platform Policy does not automatically give API users a

license or sub-license to use and display the content of Instagram’s general user population:

     "While our terms allow us to grant a sub-license, we do not grant one for our embeds
     API. Our platform policies require third parties [such as Defendants] to have the
     necessary rights from applicable rights holders. This includes ensuring they have a
     license to share this content, if a license is required by law."14

       85.     Plaintiffs are not aware at this time of any Defendant having obtained a license for

the Video or Photo.

       86.     Instead, Defendants stole Nicklen’s Video and/or Mittermeier’s Photo by using

the Instagram API tool to “embed” each in certain posts on Defendants’ respective websites.

This is despite Instagram’s public position regarding licensing and the use of the API, and at

least two court rulings in the Southern District of New York in McGucken v. Newsweek LLC et.

al., No. 1:2019cv09617 - Doc. 35 (S.D.N.Y. June 1, 2020) and Sinclair v. Mashable Inc. No.:

1:18-cv-00790 (S.D.N.Y.). Certain Defendants that received a takedown notice in early 2018

when Plaintiffs discovered some infringements generally took down the alleged infringements of

the Video and Photo unless otherwise noted.

       87.     However, Plaintiffs discovered additional infringers in November and December

2020 and sent takedown notices to some identifiable and ascertainable infringing Defendants.

However, Plaintiffs have recently evaluated the litigation, recent developments, and believe that

due to the large number of additional infringers on the same occurrence and set of facts, that a

Defendant class is the more appropriate procedural mechanism and appropriate vehicle to drive

this common factual and legal dispute and manage this legal matter for the benefit of all parties


14
  Timothy B. Lee, Instagram just threw users of its embedding service under the bus, Ars
Technica, June 4, 2020. Available at: https://arstechnica.com/tech-policy/2020/06/instagram-
just-threw-users-of-its-embedding-api-under-the-bus/.
                                                                                                    30
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 31 of 49




and the court system. Plaintiffs believe this amendment is appropriate to adjudicate the common

questions of law and fact across the spectrum of similarly situated Defendant media Defendants

given that there were likely hundreds or more of infringers such as Sinclair Broadcast and its

operating entities, infringing on the same operative nucleus of facts under the same federal law.

In any event, the Defendants that did not takedown the Video and Photo were on actual or

constructive notice of Instagram’s position about the API/no automatic license, the two S.D.N.Y.

court decisions, and willfully or recklessly ignored this information, even though each Defendant

would likely be considered sophisticated corporate digital publishing companies with lawyers or

management to address licensing and photo/video rights clearing for any such uses.

   B. INFRINGEMENTS ALLEGED BY PLAINTIFF NICKLEN

       88.      None of the following Defendants secured a license or permission from Nicklen

to display or use his copyrighted Video in their respective website posts.

       89.      Plaintiff Nicklen’s Video is filed as Exhibit “4” (under separate cover) and the

U.S. Copyright Office’s registration for his video is attached as Exhibit “4A” and bears an

Effective Date of February 7, 2018 and Registration number PA 2-102-139.

       90.      Defendant Sinclair Broadcast Group, Inc. (“Sinclair”) is the parent company of its

subsidiary entity WCWN Licensee, LLC (d/b/a WCWN; d/b/a CW15 Albany) and owns over

200 television stations in the United States that operate web sites. Sinclair likely published a

post that was used by all 200 stations upon information and belief, such as Defendant WCWN

Licensee LCC or WCWN LLC. Plaintiff sent Defendant Sinclair Broadcast Group, Inc. a

DMCA-compliant takedown demand on December 9, 2020, but Defendant Sinclair has yet to

comply with the demands and Plaintiff’s video remains displayed on the posts for all its entities

that it owns.



                                                                                                   31
          Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 32 of 49




          91.    Defendant WCWN Licensee, LLC (d/b/a WCWN; d/b/a CW15 Albany)

embedded Nicklen’s Video from his Facebook account (the Nicklen Instagram post is identical

to the Nicklen Facebook post having the same video and the same caption text) in a post

attributed to the Sinclair Broadcast Group titled, “Starving Polar Bear Goes Viral in

Heartbreaking Video,” published on December 11, 2017 (available at:

http://cwalbany.com/news/offbeat/starving-polar-bear-goes-viral-in-heartbreaking-video). This

Sinclair Broadcast/WCWN post is attached as Exhibit 5. As a Defendant that is similarly

situated to all the Sinclair-owned entities, WCWN (CW 15), published a Sinclair Broadcast

Group post that essentially does a cut and paste job (some might even refer to this as plagiarism)

from the Nat Geo article. Exhibit 5 shows in yellow highlights the text that the Sinclair post

plagiarized from the Nat Geo article, which is attached as Exhibit 6, and shows in yellow

highlights the source text used in the Sinclair post. To make matters worse for Sinclair

Broadcast Group, Exhibit 5 also shows in blue highlights the text that the Sinclair post

plagiarized from Nicklen’s Facebook Post, which is attached as Exhibit 7, and shows in blue

highlights the source text used in the Sinclair post. Defendant Sinclair’s post was essentially a

“cut and paste” job. The nature of Sinclair post, posted by and through as many as 294 Sinclair

stations, and over 100 Sinclair entities, displayed the entire Video and a near complete crib job of

the Nat Geo article and Nicklen’s Facebook text, destroying any “fair use” defense Sinclair

Broadcast may raise. Sinclair Broadcast has a history of using its television stations (all operated

under separate LLC’s) to parrot the same material, even though each station has a website that is

operated through a separate corporate entity.15 See attached Exhibit 2 for a list of all known

Sinclair corporate entities filed with the SEC in 2017 that are similarly situated defendants (for a



15
     https://www.nytimes.com/2018/04/02/business/media/sinclair-news-anchors-script.html
                                                                                                    32
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 33 of 49




Defendant class). WCWN published the same post on their web sites with the Video without a

license or a valid defense.

       92.     Defendant Mashable embedded Plaintiff Nicklen’s Video from his Instagram

account in a post titled “The polar bear in this video is dying from starvation. Fortunately, most

aren't...yet,” on December 8, 2017 (available at: https://mashable.com/2017/12/08/starving-polar-

bear-video-threatened-species/#ye8j1xjlbOq4). After Plaintiff sent a DMCA-compliant

takedown demand on March 15, 2017, Defendant Mashable promptly removed the infringing

material from its post, but refused to offer just compensation to Plaintiff for the copyright

infringement of his Video.

       93.     In December 2017, Mashable did not have a written or oral policy or guideline

related to embedding photos or videos from social media accounts (such as Instagram) and relied

on a legal fiction that no one in the publishing industry ever needed to secure a license or

permission from a copyright holder if they used Instagram. As is described herein, Instagram

has never given any publisher such as Mashable a license when using an Instagram embed. The

nature of Mashable’s display of the Video does not warrant a “fair use” defense.

       94.     Defendant BuzzFeed, Inc. has a pending acquisition for Defendant

TheHuffingtonPost.com, Inc. from Defendant Verizon Media, Inc. and has been sued to the

extent there exists successor liability that is unknown to Plaintiff.

       95.     Defendant TheHuffingtonPost, Inc. embedded Plaintiff Nicklen’s Video from his

Instagram account in a post titled “Heartbreaking Video Shows Starving Polar Bear On Warming

Canadian Island,” on December 8, 2017 (available at https://www.huffpost.com/entry

/starving-polar-bear-canada_n_5a2b1e5ae4b069ec48ad80f9). After Plaintiff sent a DMCA-

compliant takedown demand on March 22, 2017, Defendant TheHuffingtonPost.com, Inc.



                                                                                                 33
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 34 of 49




promptly removed the infringing material from its post, but refused to offer just compensation to

Plaintiff for the copyright infringement of his video. The nature of HuffPo’s display of the

Video does not warrant a “fair use” defense.

       96.     Defendant Oath, Inc. (d/b/a Yahoo!), or Verizon Media, Inc. as the proof will

show, embedded Plaintiff Nicklen’s Video from his Instagram account in a post titled “The polar

bear in this video is dying from starvation. Fortunately, most aren't...yet,” on December 8, 2017

(available at https://www.yahoo.com/news/polar-bear-video-dying-starvation-021354020.html).

After Plaintiff sent a DMCA-compliant takedown demand on March 22, 2017, Defendant

Yahoo! Inc. promptly removed the infringing material from its post, but refused to offer just

compensation to Plaintiff for the copyright infringement of his video. The nature of Yahoo’s

display of the Video does not warrant a “fair use” defense.

       97.     Defendant GateHouse Media, Inc. acquired Defendant Gannett Co., Inc., Gannett

Media Corporation, Gannett Satellite Information Network, LLC, Phoenix Newspapers, Inc., and

Detroit Free Press, Inc. sometime during the alleged infringement period in 2019 and has been

sued to the extent there exists successor liability that is unknown to Plaintiff.

       98.     Defendant Gannett Co., Inc. (d/b/a USA Today) embedded Plaintiff’s Video from

his Instagram account in a post titled “National Geographic photographer shares emotional video

of dying polar bear,” published on December 8, 2017 (available at: https://www.usatoday.com

/story/news/nation-now/2017/12/08/national-geographic-photographer-shares-emotional-video-

dying-polar-bear/936921001/). Plaintiff sent Defendant Gannett Co., Inc. a DMCA-compliant

takedown demand on November 25, 2020, but Defendant Gannett Co., Inc. has yet to comply

with the demands within that notice and Plaintiff’s video remains displayed on its post. The

nature of USA Today’s display of the Video does not warrant a “fair use” defense.



                                                                                                34
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 35 of 49




       99.     Defendant Phoenix Newspapers, Inc. (d/b/a The Arizona Republic) embedded

Plaintiff’s Video from his Instagram account in a post titled “National Geographic photographer

shares emotional video of dying polar bear,” published on December 8, 2017 (available at: https:

//www.azcentral.com/story/news/local/arizona-environment/2017/12/08/paul-nicklen-national-

geographic-photographer-shares-emotional-video-starving-polar-bear/935588001/). Plaintiff

sent Defendant Gannett Co., Inc. a DMCA-compliant takedown demand on November 25, 2020,

but Defendant Gannett Co., Inc. has yet to comply with the demands within that notice and

Plaintiff’s video remains displayed within its post. The nature of The Arizona Republic’s

display of the Video does not warrant a “fair use” defense.

       100.    Defendant Detroit Free Press, Inc. (d/b/a Detroit Free Press) embedded Plaintiff’s

Video from his Instagram account in a post titled “National Geographic photographer shares

emotional video of dying polar bear,” published on December 8, 2017 (available at: https://www.

freep.com/story/news/nation-now/2017/12/08/national-geographic-photographer-shares-

emotional-video-dying-polar-bear/936921001/). Plaintiff sent Defendant Gannett Co., Inc. a

DMCA-compliant takedown demand on November 25, 2020, but Defendant Gannett Co., Inc.

has yet to comply with the demands within that notice and Plaintiff’s video remains displayed

within its post. The nature of The Detroit Free Press’ display of the Video does not warrant a

“fair use” defense.

       101.    Defendant Quartz, Inc. embedded Plaintiff’s Video from his Instagram account in

a post titled “Another crushing video of a starving polar bear forces viewers to face climate

change,” published on December 9, 2017 (available at: https://qz.com/1152310/a-crushing-video

-of-a-starving-polar-bear-forces-viewers-to-face-climate-change/). Plaintiff sent Defendant

Quartz a DMCA-compliant takedown demand on November 20, 2020, but Defendant Quartz has



                                                                                                 35
           Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 36 of 49




yet to comply with the demands within that notice and Plaintiff’s video remains displayed on its

post. The nature of Quartz’s display of the Video does not warrant a “fair use” defense.

       102.     Defendant iHeartMedia, Inc. embedded Plaintiff’s Video from his Instagram

account in a post titled “‘We Stood There Crying’: Crew Films Starving Polar Bear,” published

December 9, 2017 (available at: https://www.iheart.com/content/2017-12-09-we-stood-there-

crying-crew-films-starving-polar-bear/). Upon Plaintiff’s delivery of a DMCA-compliant

takedown demand on November 22, 2020, Defendant iHeartMedia, Inc. promptly removed the

infringing display, but has yet to respond to Plaintiff’s demand for just compensation. The

nature of iHeartMedia, Inc.’s display of the Video does not warrant a “fair use” defense.

       103.     Defendant Advance Publications, Inc. is the parent of Defendant Conde Nast

Entertainment, LLC, publisher of Teen Vogue.

       104.     Defendant Conde Nast Entertainment, LLC embedded Plaintiff Nicklen’s Video

from his Instagram account in a post titled, “Heartbreaking Video of a Starving Polar Bear Goes

Viral,” published on December 9, 2017 (available at: https://www.teenvogue.com/story/starving

-polar-bear-viral-video). Upon Plaintiff’s delivery of a DMCA-compliant takedown demand on

November 22, 2020, Defendant Conde Nast Entertainment, LLC promptly removed the

infringing display, but has yet to substantively respond to Plaintiff’s demand for just

compensation. The nature of Teen Vogue’s display of the Video does not warrant a “fair use”

defense.

       105.     Defendant JCK Legacy Company acquired the holdings of the bankrupt

McClatchy Company, which include the Kansas City Star, the Miami Herald, and Columbus

Ledger-Enquirer, Inc., sometime during the infringement period in 2020 and has been sued to the

extent there exists successor liability that is unknown to Plaintiff.



                                                                                               36
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 37 of 49




       106.    The Kansas City Star embedded Plaintiff Nicklen’s Video from his Instagram

account in a post titled, “Starved polar bear digs through trash in iceless wasteland, ‘soul-

crushing' video shows,” published on December 8, 2017 (available at: https://www.

kansascity.com/news/nation-world/article188807969.html). Despite Plaintiff’s delivery of a

DMCA-compliant takedown demand on March 30, 2018, The Kansas City Star continues its

infringing display of Plaintiff’s Video and has refused just compensation to Plaintiff. The nature

of The Kansas City Star’s display of the Video does not warrant a “fair use” defense.

       107.    The Miami Herald embedded Plaintiff Nicklen’s Video from his Instagram

account in a post titled, “Starved polar bear digs through trash in iceless wasteland, ‘soul-

crushing' video shows,” published on December 8, 2017 (available at: https://www.

miamiherald.com/news/nation-world/world/article188807969.html). The nature of The Miami

Herald’s display of the Video does not warrant a “fair use” defense.

       108.    Defendant Columbus Ledger-Enquirer, Inc. (d/b/a Columbus Ledger-Enquirer)

embedded Plaintiff Nicklen’s Video from his Instagram account in a post titled, “Starved polar

bear digs through trash in iceless wasteland, ‘soul-crushing' video shows,” published on

December 8, 2017 (available at: https://www.ledger-enquirer.com/news/nation-world/world/

article188807969.htm). The nature of the Columbus Ledger-Enquirer’s display of the Video

does not warrant a “fair use” defense.

       109.    Defendant T&R Productions, LLC (d/b/a RT Network16) embedded Plaintiff

Nicklen’s Video from his Instagram account in a post titled, “‘Soul-crushing’: Filmmaker

captures ‘slow, painful death’ of starving polar bear (VIDEO),” published on December 9, 2017


16
  Some time in 2017, during the period of infringement, Defendant RT registered with the U.S.
Department of State as a foreign agent (Russia) at the Department’s insistence. (See:
https://www.justice.gov/opa/pr/production-company-registers-under-foreign-agent-registration
-act-agent-russian-government.)
                                                                                                 37
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 38 of 49




(available at: https://www.rt.com/news/412569-polar-bear-canada-dying/). The nature of RT’s

display of the Video does not warrant a “fair use” defense.

        110.   Defendant G/O Media, Inc. (d/b/a The Root) embedded Plaintiff Nicklen’s Video

from his Instagram account in a post titled, “This Starving Polar Bear Should Prove to All

Climate Change Deniers That They’re Delusional and Disgusting,” published on December 9,

2017 (available at: https://www.theroot.com/this-starving-polar-bear-should-prove-to-all-clim

ate-ch-1821152672). Despite Plaintiff’s delivery of a DMCA-compliant takedown demand on

March 30, 2018, The Root continues its infringing display of Plaintiff’s Video and has refused

just compensation to Plaintiff. The nature of The Root’s display of the Video does not warrant a

“fair use” defense.

        111.   Defendant IB Times, LLC (d/b/a International Business Times) embedded

Plaintiff Nicklen’s Video from his Instagram account in a post titled, “WATCH: Heart-

Wrenching Footage Of Starving Polar Bear Exposes Climate Crisis,” published on December 9,

2017 (available at: https://www.ibtimes.com/watch-heart-wrenching-footage-starving-polar-

bear-

exposes-climate-crisis-2626443). Sometime after Plaintiff’s DMCA-compliant takedown notice

of March 27, 2018, the infringing display was removed from the International Business Times

post, but Defendant IB Times, LLC has refused just compensation to Plaintiff for its

unauthorized use. The nature of the International Business Times’ display of the Video does not

warrant a “fair use” defense.

        112.   Defendant CBS Interactive Media, Inc. embedded Plaintiff Nicklen’s Video from

his Instagram account in a post titled, “Photographer shares ‘soul-crushing’ video of dying polar

bear,” published on December 11, 2017 (available at: https://www.cbsnews.com/news/starving



                                                                                                 38
           Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 39 of 49




-polar-bear-video-paul-nicklen-baffin-island/). Despite Plaintiff’s delivery of a DMCA-

compliant takedown demand on November 24, 2020, Defendant CBS Interactive Media, Inc. has

yet to cease its infringing display of Plaintiff’s video or provide just compensation to Plaintiff.

The nature of CBS News’ display of the Video does not warrant a “fair use” defense.

       113.     Defendant WKYC-TV, LLC embedded Plaintiff Nicklen’s Video from his

Instagram account in a post titled, “Wildlife photographer posts heartbreaking video of starving

polar bear,” published on December 8, 2017. The post was originally available at:

https://www.wkyc.com/article/news/nation-world/wildlife-photographer-posts-heartbreaking-

video-of-starving-polar-bear/95-49791368, but sometime during the alleged infringement period,

it was removed. The nature of WKYC-TV’s display of the Video does not warrant a “fair use”

defense.

       114.     Defendant WFAA-TV, Inc. embedded Plaintiff Nicklen’s Video from his

Instagram account in a post titled, “Wildlife photographer posts heartbreaking video of starving

polar bear,” published on December 8, 2017. The post was originally available at: https://www.

wfaa.com/news/nation-world/wildlife-photographer-posts-heartbreaking-video-of-starving-polar-

bear/498152245, but sometime during the alleged infringement period, it was removed. The

nature of WFAA-TV’s display of the Video does not warrant a “fair use” defense.

       115.     Defendant The Daily Caller, Inc. embedded Plaintiff Nicklen’s Video from his

Instagram account in a post titled, “Activists ‘Stood There Crying’ While Filming A Dying Polar

Bear, Then Blamed Global Warming [VIDEO]” published on December 9, 2017 (available at:

https://dailycaller.com/2017/12/09/activists-stood-there-crying-while-filming-a-dying-polar-

bear-then-blamed-global-warming-video/). The nature of The Daily Caller’s display of the

Video does not warrant a “fair use” defense.



                                                                                                      39
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 40 of 49




       116.    Defendant Worldwide Media Services Group, Inc. (f/k/a American Media, Inc.)

acquired the online publication Adventure Sports Network from Defendant TEN: Publishing,

Inc. some time during the infringement period in 2019 and has been sued to the extent there

exists successor liability that is unknown to Plaintiff.

       117.    Adventure Sports Network embedded Plaintiff Nicklen’s Video from his

Instagram account in a post published on or around December 8, 2017 that has since been

removed (previously available at: https://www.adventuresportsnetwork.com/wildlife/starving-

polar-bear-scrounging-food-painful-message-video/). The nature of Adventure Sports Network’s

display of the Video does not warrant a “fair use” defense.

       118.    Defendant Pacific and Southern, LLC (d/b/a WXIA) embedded Plaintiff

Nicklen’s Video from his Instagram account in a post titled, “Wildlife photographer posts

heartbreaking video of starving polar bear,” published on December 8, 2017 (available at:

http://www.11alive.com/article/news/nation-world/wildlife-photographer-posts-heartbreaking-

video-of-starving-polar-bear/95-497913684). The nature of WXIA’s display of the Video does

not warrant a “fair use” defense.

       119.    Defendant Hearst Properties, Inc. (d/b/a KCCI, WESH, WLKY, WMTW,

WMUR, WPBF, WXII) embedded Plaintiff Nicklen’s Video from his Instagram account in a

post titled, “Photographer’s ‘soul crushing’ video of starving polar bear goes viral,” on or around

December 9, 2017 (available at: http://www.kcci.com/article/photographers-soul-crushing-video

-of-starving-polar-bear-goes-viral/14398212; http://www.wesh.com/article/photographers-soul

-crushing-video-of-starving-polar-bear-goes-viral/14398212; http://www.wlky.com/article/photo

graphers-soul-crushing-video-of-starving-polar-bear-goes-viral/14398212; http://www.wmtw.

com/article/photographers-soul-crushing-video-of-starving-polar-bear-goes-viral/14398212; http



                                                                                                 40
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 41 of 49




://www.wmur.com/article/photographers-soul-crushing-video-of-starving-polar-bear-goes-

viral/14398212; http://www.wpbf.com/article/photographers-soul-crushing-video-of-starving-

polar-bear-goes-viral/14398212; and http://www.wxii12.com/article/photographers-soul-

crushing-video-of-starving-polar-bear-goes-viral/14398212). The nature of KCCI, WESH,

WLKY, WMTW, WMUR, WPBF, and WXII’s display of the Video does not warrant a “fair

use” defense.

       120.     Defendant Hearst Stations Inc. (d/b/a, KMBC, KSBW) embedded Plaintiff

Nicklen’s Video from his Instagram account in a post titled, “Photographer’s ‘soul crushing’

video of starving polar bear goes viral,” on or around December 9, 2017 (available at: http://

www.kmbc.com/article/photographers-soul-crushing-video-of-starving-polar-bear-goes-

viral/14398212; and http://www.ksbw.com/article/photographers-soul-crushing-video-of-

starving-polar-bear-goes-viral/14398212). The nature of KMBC and KSBW’s display of the

Video does not warrant a “fair use” defense.

       121.     Defendant Hearst Television, Inc. (d/b/a KCRA, KOCO, WAPT, WBAL,

WVTM) embedded Plaintiff Nicklen’s Video from his Instagram account in a post titled,

“Photographer’s ‘soul crushing’ video of starving polar bear goes viral,” on or around December

9, 2017 (available at: http://www.kcra.com/article/photographers-soul-crushing-video-of-

starving-polar-bear-goes-viral/14398212; http://www.koco.com/article/photographers-soul-

crushing-video-of-starving-polar-bear-goes-viral/14398212;

http://www.wapt.com/article/photographers-soul-crushing-video-of-starving-polar-bear-goes-

viral/14398212; http://www.wbaltv.com/article/photographers-soul-crushing-video-of-starving-

polar-bear-goes-viral/14398212; and http://www.wvtm13.com/article/photographers-soul-




                                                                                                 41
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 42 of 49




crushing-video-of-starving-polar-bear-goes-viral/14398212). The nature of KCRA, KOCO,

WAPT, WBAL, and WVTM’s display of the Video does not warrant a “fair use” defense.

       122.    WJCL HEARST TELEVISION LLC (d/b/a WJCL) embedded Plaintiff Nicklen’s

Video from his Instagram account in a post titled, “Photographer’s ‘soul crushing’ video of

starving polar bear goes viral,” on or around December 9, 2017 (available at: http://www.wjcl.

com/article/photographers-soul-crushing-video-of-starving-polar-bear-goes-viral/14398212).

The nature of WJCL’s display of the Video does not warrant a “fair use” defense.

       123.    Defendant Some Spider Inc. (d/b/a Scary Mommy) embedded Plaintiff Nicklen’s

Video from his Instagram account in a post titled, “Biologist’s Heartbreaking Video Of Starving

Polar Bear Goes Viral,” published on December 9, 2017 (available at:

https://www.scarymommy.com/paul-nicklen-video-starving-polar-bear/). The nature of Scary

Mommy’s display of the Video does not warrant a “fair use” defense.

       124.    Defendant Warner Media, LLC is the parent of Defendant Uproxx, LLC (d/b/a

Uproxx). Defendant Uproxx, LLC embedded Plaintiff Nicklen’s Video from National

Geographic’s Facebook account in a post titled, “This Video Of A Starving Polar Bear

Rummaging Through Trash Should Be Our Global Warming PSA,” published on December 9,

2017 (available at: https://uproxx.com/life/polar-bear-global-warming-climate-change/). The

nature of Uproxx’s display of the Video does not warrant a “fair use” defense.

       125.    Upon information and belief, all other defendants, such as those owned by

Defendant Hearst Communications, Inc.(which may own and control about 34 stations) through

various operating entities and other defendants that are similarly situated, infringed upon

Plaintiff Nicklen’s Video without a license or a fair use defense, copying language from the

National Geographic article and/or Nicklen’s Instagram or Facebook post with almost no



                                                                                                 42
            Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 43 of 49




additional original copy that could be considered transformative sufficient to sustain a claim of

fair use.

        126.     Defendant Hearst Magazine Media, Inc. (d/b/a Cosmopolitan) embedded Plaintiff

Nicklen’s Video from his Instagram account in a post titled, “This Haunting Video of a Dying

Polar Bear Will Break Your Heart,” published on December 9, 2017 (available at: https://www.

cosmopolitan.com/politics/a14398183/starving-dying-polar-bear/). The nature of WJCL’s

display of the Video does not warrant a “fair use” defense. Upon Plaintiff’s delivery of a

DMCA-compliant takedown demand on November 20, 2020, Defendant Hearst Magazine

Media, Inc. promptly removed the infringing display, but has yet to substantively respond to

Plaintiff’s demand for just compensation. The nature of Cosmopolitan’s display of the Video

does not warrant a “fair use” defense.

    C. INFRINGEMENTS ALLEGED BY PLAINTIFF CRISTINA MITTERMEIER

        127.     Plaintiff Mittermeier’s Photo is filed as Exhibit “8” and the U.S. Copyright

Office’s copyright registration listing for this photo is attached as Exhibit “8A” and bears an

Effective Date of February 8, 2018 and Registration number VA 2-087-796.

        128.     Defendant Planck, LLC (d/b/a Patch Media) embedded Plaintiff Mittermeier’s

Photograph from her Instagram account in a post titled, “Starving Polar Bear Video Warns Of

Impending Extinction,” published on December 13, 2017 (available at: https://patch.com/us/

across-america/starving-polar-bear-video-warns-impending-extinction). Sometime after

Plaintiff’s DMCA-compliant takedown notice of March 22, 2018, the infringing display was

removed from the post, but Defendant Plank, LLC has refused just compensation to Plaintiff for

its unauthorized use. The nature of Patch Media’s display of the Video does not warrant a “fair

use” defense.



                                                                                                    43
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 44 of 49




       129.    Defendant CBS Interactive, Inc. (d/b/a PopCulture.com) embedded Plaintiff

Mittermeier’s Photograph from her Instagram account in a post titled, “Viral Video of Starving

Polar Bear is Breaking Hearts Online,” published on December 11, 2017 (available at:

http://popculture.com/2017/12/10/viral-video-starving-polar-bear-starvation/). Despite

Plaintiff’s delivery of a DMCA-compliant takedown demand on November 24, 2020, Defendant

CBS Interactive Media, Inc. has yet to cease its infringing display of Plaintiff’s video or provide

just compensation to Plaintiff. The nature of PopCulture.com’s display of the Video does not

warrant a “fair use” defense.

       130.    Defendant Worldwide Media Services Group, Inc. (f/k/a American Media, Inc.)

(d/b/a Adventure Sports Network) embedded Plaintiff Mittermeier’s Photograph from

SeaLegacy’s Instagram account in a post published on or around December 8, 2017 that since

been removed (previously available at: https://www.adventuresportsnetwork.com/wildlife/

starving-polar-bear-scrounging-food-painful-message-video/). The nature of Adventure Sports

Network’s display of the Video does not warrant a “fair use” defense.

       131.    Defendant Some Spider Inc. (d/b/a Scary Mommy) embedded Plaintiff

Mittermeier’s Photograph from SeaLegacy’s Instagram account in a post titled, “Biologist’s

Heartbreaking Video Of Starving Polar Bear Goes Viral,” published on December 9, 2017

(available at: https://www.scarymommy.com/paul-nicklen-video-starving-polar-bear/). The

nature of Scary Mommy’s display of the Photo does not warrant a “fair use” defense.

       132.    Plaintiffs sent written notice as is noted above to most Defendants that each had

willfully infringed on Nicklen’s Video and Mittermeier’s Photo.

///

///



                                                                                                   44
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 45 of 49




                                   VII. CAUSES OF ACTION

         COUNT 1: INFRINGEMENT OF COPYRIGHTS (17 U.S.C. §§ 106, 501)

                       (ALL PLAINTIFFS AGAINST ALL DEFENDANTS)

       133.    Plaintiffs incorporate herein by this reference each and every allegation contained

in each paragraph above.

       134.    Plaintiff Nicklen is and was at all relevant times the sole copyright owner under

United States copyright with respect to the copyrighted Video identified in Exhibits 4 and the

registration in 4A.

       135.    Plaintiff Mittermeier is and was at all relevant times the sole copyright owner

under United States copyright with respect to the copyrighted Photo identified in Exhibits 8 and

the registration in 8A.

       136.    Among the exclusive rights granted to each Plaintiff under the Copyright Act are

the exclusive rights to reproduce their respective copyrighted works and to distribute the

copyrighted works to the public.

       137.    Each Defendant, without the permission, license, or consent from Plaintiffs,

embedded either Nicklen’s single copyrighted Video or Mittermeier’s Photo as alleged above

onto Defendants’ websites using the Instagram or Facebook API, causing Nicklen’s Video or

Mittermeier’s Photo to be displayed on the Defendant’s website and distributing the Video or

Photo to the public.

       138.    Defendants have each violated Plaintiffs’ exclusive rights of display (17 U.S.C. §

106(5)), reproduction (17 U.S.C. § 106(1)), and/or distribution (17 U.S.C. § 106(3)) of Nicklen’s

Video and/or Mittermeier’s Photo as alleged above.




                                                                                                   45
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 46 of 49




       139.    Defendants never sought permission nor secured a license for the right to embed

or display Plaintiffs’ copyrighted works despite Plaintiffs each operating publicly available

websites for the purpose of inviting offers from potential licensors. Nicklen also provided

explicit licensing information in the text of his Instagram post where the Video was first posted.

This is all considering numerous entities allegedly securing a license or consent from Plaintiff

while others flagrantly violated the Copyright Act.

       140.    Plaintiffs are also informed and believe that the foregoing acts of infringement

have been willful and intentional or reckless, in total disregard of and with indifference to the

rights to Plaintiffs’ copyrights and exclusive rights under copyright, especially in light of certain

Defendant’s reputation as serial copyright infringers which creates a presumption of enhanced

damages.

       141.    As a result of Defendants’ violation of Plaintiffs’ exclusive rights under

copyright, Plaintiffs are entitled to statutory damages pursuant to 17 U.S.C. § 504(c) for

Defendants’ infringements of the Copyrighted Video and Photo. Alternatively, Plaintiff may

elect to pursue actual damages pursuant to 17 U.S.C. § 504(b) based on what Defendants earned

from the websites via advertising, impressions, user traffic etc., and savings from the avoidance

of paying an agreed licensing fee.

       142.    Plaintiffs are further entitled to attorney’s fees and costs pursuant to 17 U.S.C. §

505.

       143.    In the event that Nicklen’s Video and Mittermeier’s Photo are still published,

displayed or associated with Defendants, the conduct of Defendants have caused, may still be

causing, and will continue to cause Plaintiffs irreparable injury that cannot fully be compensated

or measured in money unless enjoined and restrained by this Court. Plaintiffs have no adequate



                                                                                                    46
        Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 47 of 49




remedy at law. Pursuant to 17 U.S.C. §§ 502 and 503, Plaintiffs are entitled to injunctive relief

prohibiting Defendants from further infringing Plaintiffs’ copyrights, and ordering Defendants to

destroy all copies of images made or used in violation of Plaintiffs’ exclusive rights and to

remove the Video and Photo from any website or blog that Defendants control, operate, or own.

                                         VIII. DAMAGES

       144.     Defendants’ conduct caused actual damages and/or are each liable for statutory

damages of up to $30,000.00 for each infringement for each Defendant entity that caused an

infringement or alternatively up to $150,000.00 for each willful infringement pursuant to 17

U.S.C. § 504.

                                 IX. JURY TRIAL DEMANDED

       145.     Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs respectfully demand a trial by jury of

all the claims asserted in this Complaint so triable.

                                    X. RELIEF REQUESTED

       146.     WHEREFORE, Plaintiffs respectfully request and pray that the Court enter

judgment on their behalf adjudging and decreeing that:

                a. For an order certifying this lawsuit as a Defendant class action under Rule 23;

                   an order appointing the named Defendants as Representatives for the

                   Defendant Class, and appointing their counsel as counsel for all Defendants,

                   or for interim Defendant class counsel under Rule 23(g), in the Court’s

                   discretion.

                b. For declaratory relief under the Federal Copyright Act and for an injunction

                   providing: “Defendants shall be and hereby are enjoined from directly or

                   indirectly infringing Plaintiffs’ rights under federal or state law in the



                                                                                                    47
Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 48 of 49




        Copyrighted Video and Photo, whether now in existence or later created, that

        is owned or controlled by Plaintiffs, including without limitation by using the

        Internet, the Instagram embedding API, or any online media distribution

        system to reproduce (i.e. download) any of Plaintiff Nicklen’s Video or

        Mittermeier’s Photo, to distribute (i.e. cause to be displayed) any of Plaintiffs’

        copyrighted works, or to make any of Plaintiffs’ works available for

        distribution to the public, except pursuant to a lawful license or with the

        express authority of each Plaintiff. Defendants also shall destroy all copies of

        Plaintiffs’ photos that Defendants have downloaded onto any computer hard

        drive or server and remove the “embed code” pointing to the Copyrighted

        Video or Photos from the internet or Instagram that Defendants have control

        or ownership interest in.”

     c. For Plaintiffs to be awarded either: (i) Plaintiffs’ actual damages and

        Defendants’ profits, gains, or advantages of any kind attributable to

        Defendants’ infringement of Plaintiffs’ copyrighted works; or (ii)

        alternatively, statutory damages of up to $30,000.00 per infringement or up to

        $150,000.00 for each instance of willful infringement of Plaintiffs’

        Copyrighted works pursuant to 17 U.S.C. § 504.

     d. For Defendants to be required to account for all profits, income, receipts, or

        other benefits derived by Defendants as a result of their unlawful conduct.

     e. For Plaintiffs’ costs and expenses in this action, including all reasonable

        attorney’s fees incurred herein, pursuant to 17 U.S.C. § 505 and/or 17 U.S.C.

        § 1201 et. seq. and pursuant to Rule 23 as the case may be.



                                                                                         48
Case 1:20-cv-10300-JSR Document 11 Filed 12/11/20 Page 49 of 49




       f. For Plaintiffs to be awarded pre-judgment interest from the time of the

          infringements.

       g. For such other and further relief as the Court may deem just and proper.

Dated: This 10th day of December 2020.


                                         Respectfully submitted,

                                         By: /s/ James Bartolomei Esq.
                                         James Bartolomei Esq.
                                         Duncan Firm, P.A.
                                         Of Counsel
                                         809 W. 3rd Street
                                         Little Rock, Arkansas 72201
                                         501-228-7600 phone
                                         501-228-0415 fax
                                         james@duncanfirm.com

                                         and

                                         Bryan D. Hoben, Esq.
                                         1112 Main Street
                                         Peekskill, New York 10566
                                         347-855-4008
                                         914-992-7135 fax
                                         bryan@hobenlaw.com

                                         Attorneys for Plaintiffs




                                                                                     49
